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     8                      UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
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   ll ~ RUMBLE,INC.                               Case No. 2:17-cv-04977-PSG-SK
   12                 Plaintiff,
             v.                                              ORDER VACATING
   13                                             TRIAL DATE AND ALL OTHER
                                                  DEADLINES PURSUANT TO
   14 THE DAILY MAIL AND GENERAL
      TRUST PLC and its subsidiary                NOTICE OF SETTLEMENT
   15 ASSOCIATED NEWSPAPERS LTD
                                                  Action Filed:     July 6, 2017
   16 dba THE DAILY MAIL,                         Trial Date:       February 19, 2019
      DAILYMAIL.COM and
   17 MAILONLINE, and DOES 1-10,
   18 inclusive,
   19                 Defendants.

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                  ~l~f)R]~1~;R V~CA7~ING TRIAL DATL /~Nf~ ALL OTHER lllnl~1,INL~:S
                            l'UKSUAN'1 TO NOTICE OF Sl?7~711•:MENT
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    1         On November 15, 2018, the Parties in the above-captioned action filed a
    2 Notice of Settlement and Stipulation to Vacate Trial Date and Other Deadlines.
    3 The Court, having considered the Parties' stipulation, and good cause appearing
    4 therefore, HEREBY ORDERS as follows:
    5         1.     The February 19, 2019 trial date and all other deadlines in this action
    6 are hereby vacated;
    7         2.     The Parties shall have until December 17, 2018 to file a dismissal of
    8 this action in its entirety with prejudice or to file a status report with the Court.
    9
   10 IT IS SO ORDERED
   11
   12 DATED: November /°I , 2018'
   13                                           The Ho orable Philip S. Gutierrez
                                                United States District Judge
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